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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION AT PIKEVILLE

     CRIMINAL ACTION NO. 7:06-03

     UNITED STATES OF AMERICA,                                                        PLAINTIFF

     v.                                         ORDER

     KRISTY COLEMAN TACKETT,                                                        DEFENDANT

                                             *********

     This matter is before the Court on the Petition of United States Probation Officer Roger Varney

alleging six violations of the terms of Defendant’s supervised release, [DE 224] and the Magistrate

Judge's Recommended Disposition recommending that Defendant’s motion to dismiss Violation

Number 2 be granted and that the Defendant be found to have committed Violations Number 1, 3, 4,

5, and 6. [DE 233]. The Defendant has filed no objections to the Recommended Disposition and the

Court agrees with the Magistrate Judge's analysis.

     Accordingly, the Court ORDERS:

          (1) That the Defendant’s motion to dismiss Violation Number 2 is GRANTED, and the

violation is DISMISSED;

          (2) That the Defendant, Kristy Coleman Tackett, is found to have committed Violations

Number 1, 3, 4, 5, and 6; and

          (3) That the Defendant is sentenced to the custody of the Attorney General for a period

of TEN MONTHS. Following completion of her sentence, the Defendant shall serve out the

remainder of her supervised release term on the same conditions previously imposed.

          Dated this 22nd day of March, 2012.
